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April 30, 2018

VIA ECF AND HAND DELIVERY

The Honorable Naomi Reice Buchwald
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

Re:       In re LIBOR-Based Financial Instruments Antitrust Litigation, Case No. 11-md-2262

Dear Judge Buchwald:

We write as liaison counsel on behalf of the Over-the-Counter Plaintiffs, the Direct-Action
Plaintiffs, and the Lender Plaintiffs and propose the attached schedule for the merits phase of this
action. Ex. 1.

Despite weeks of meet and confers with the defendants on the schedule, Defendants announced
just this week that they are insisting on a unilateral stay of discovery, and will not even be
proposing a schedule for discovery at all. The Plaintiffs’ proposed schedule will move this case
forward from class certification and into merits discovery. The Defendants’ proposed schedule,
by contrast, would stay all discovery in this case so the Defendants can file yet another round of
motions to dismiss directed at anticipated amended complaints from certain plaintiffs’ groups
that have not even been filed yet.1

The Defendants’ proposed schedule would set this case back significantly. The Defendants have
already filed at least five rounds of motions to dismiss (six if the Court counts the Defendants’
opposition to motions for leave to amend). Under the Defendants’ proposed schedule, briefing on
the Defendants’ sixth round of anticipated motions to dismiss would not conclude—much less be

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  As set forth in the Court’s recent Orders, the FFP Plaintiffs and Schwab are prepared to amend or move for leave
to amend only the complaints in case numbers 1:13-cv-06013; 1:13-cv-06014; 1:18-cv-01540; 1:14-cv-01757; 1:13-
cv-03952; and 1:13-cv-07005. Other DAPs have not yet determined whether they will amend or seek leave to do
so, nor have the Principal plaintiffs with regard to their complaints which Defendants have not yet moved to dismiss.


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resolved—until October, making it virtually certain that merits discovery in this more-than-six-
year-old case would be fully stayed until 2019. Plaintiffs respectfully submit that this proposal
makes no sense, as there is much that can be accomplished between now and then.

Indeed, the Defendants’ proposed stay of discovery and refusal to participate in the discovery
process has already imposed significant inefficiencies on the progress of this litigation. On
March 12—less than two weeks after this Court’s order granting class certification—the OTC
Plaintiffs sent defendants JPMorgan, Bank of America, and UBS (the live defendants in the OTC
action) comprehensive emails detailing deficiencies in those defendants’ discovery responses.
Exs. 2–4. Most notably, the OTC Plaintiffs observed that those defendants had objected to
nearly all of the OTC Plaintiffs’ document requests on the (now stale) basis that the discovery
was not relevant to class certification. Id. The OTC Plaintiffs also noted that Bank of America
has not produced a single email from 2009 or a single audio recording period from taped lines
of its LIBOR personnel, and JPMorgan has only collected audio recordings from a limited set of
custodians for a limited set of dates rather than for the class period. The OTC Plaintiffs also
noted that the defendants had refused to produce privilege logs. Id. The OTC Plaintiffs asked
JPMorgan, Bank of America, and UBS when we could expect amended responses to our
document requests, when we could confer on the scope of audio and ESI productions, and when
the defendants would be serving (long overdue) privilege logs. Id. The defendants refused to
engage at all on those discovery issues, insisting that the Court first enter a scheduling order.
Then this week, Defendants announced for the first time that they were staying discovery
unilaterally, and propose a schedule that puts off updated responses to the OTC Plaintiffs’
already two-plus-year-old document requests until next year at the earliest. Exs. 5–7.

The DAPs, meanwhile, still do not have a complete set of the regulatory documents that
Defendants produced to the class plaintiffs years ago. Based on the Court’s prior rulings, DAPs
believe they cannot issue formal discovery requests without express permission from the Court.

There is no reason this case should not move forward. There are live claims against numerous
Defendants, and Plaintiffs are eager to move forward on those claims. The Defendants are more
than capable of briefing any motions to dismiss or oppositions to leave to amend while discovery
is ongoing. The Defendants argued in meet and confers that discovery cannot be efficiently
coordinated without certainty as to which claims are viable and which are not but that argument
makes no sense. Regardless of the legal theory each plaintiffs’ group relies on, the factual issues
at issue in discovery will be overwhelmingly the same for all plaintiffs, namely, defendants
conduct that allegedly suppressed LIBOR. Discovery will thus be conducted in a materially
identical fashion regardless of how any new motions to dismiss are resolved. Further, the
certified OTC class is entitled to discovery related to damages; any potential motions to dismiss
will not even theoretically affect discovery related to damages suffered by members of the
certified OTC class, and there is no reason that discovery cannot proceed while any motions to
dismiss are pending. The same is true for many of the DAPs, who are also entitled to discovery




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on damages—discovery that will be the same regardless of the outcome of the Defendants’
anticipated motions to dismiss.

These cases have been on file for more than six years. The Defendants cannot justify putting the
merits phase of this case on ice while they litigate yet another round of motion to dismiss
briefing.

Accordingly, the Plaintiffs’ proposed schedule moves this case forward expeditiously, providing
a reasonable period of time for document discovery, depositions, and expert discovery, followed
by briefing on any motions for summary judgment after discovery closes. The proposed
schedule attempts to be efficient while accounting for the difference in discovery received by the
different plaintiffs’ groups thus far, the complex nature of the claims, the large number of parties,
and the probable need to use the Hague Convention to obtain evidence overseas. Doubling down
on their efforts to stall this case entirely, the Defendants—while objecting to any discovery
whatsoever—have argued in meet and confers that the dates proposed by the Plaintiffs for
discovery are far too short.2 The Defendants’ counter proposal would extend the Plaintiffs’
proposed schedule by two years and—even without their proposed stay of all discovery until
2019 so they can file a sixth round of motions to dismiss—would push the Joint Pretrial Order in
this case out to 2023 at the earliest, five years from now. The Court should reject the
Defendants’ untenable proposed delay.

The Plaintiffs respectfully request that the Court enter an order adopting the Plaintiffs proposed
schedule.

Respectfully Submitted,



William Christopher Carmody

cc:    All counsel of record (via CM/ECF)




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  The Defendants proposed a total of 9 months for substantial completion of document discovery in response to
initial requests for production, 18 months for depositions, and four months for expert depositions after reply expert
reports are served.


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